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                                                                           Attorneys for Debtor and Debtor in Possession
                                                                       8   One Way Loans, LLC, d/b/a PowerLend
                                                                       9                           UNITED STATES BANKRUPTCY COURT
                                                                      10             CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
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                                                                      11   In re                                               Case No. 2:18-bk-24572-SK
                              333 SOUTH GRAND AVENUE, SUITE 3400
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                                                                      12                                                       Chapter 11
                                                                           ONE WAY LOANS, LLC, a California
                                                                      13   limited liability company, d/b/a                    EMERGENCY MOTION OF DEBTOR
                                                                           POWERLEND,                                          AND DEBTOR IN POSSESSION FOR
                                                                      14                                                       INTERIM AND FINAL ORDERS
                                                                                                                               AUTHORIZING USE OF CASH
SulmeyerKupetz, A




                                                                      15                                                       COLLATERAL; MEMORANDUM OF
                                                                                         Debtor.                               POINTS AND AUTHORITIES IN
                                                                      16                                                       SUPPORT THEREOF
                                                                      17                                                       [11 U.S.C. §§ 363(a) and (c), 552(b); Fed. R.
                                                                                                                               Bankr. P. 4001(b); LBR 2081-1(a)(9) and
                                                                      18                                                       9075-1(a)]
                                                                      19                                                       [Declarations of David Redlener and Donald
                                                                                                                               A. Stukes, and Appendix of Exhibits for Cash
                                                                      20                                                       Collateral Motion filed separately]
                                                                      21                                                       Date:    TO BE DETERMINED
                                                                                                                               Time:    TO BE DETERMINED
                                                                      22                                                       Place:   Courtroom 1575
                                                                                                                                        255 East Temple Street
                                                                      23                                                                Los Angeles, CA 90012
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                                                                       1            TO THE HONORABLE SANDRA R. KLEIN, UNITED STATES BANKRUPTCY

                                                                       2   JUDGE, THE OFFICE OF THE UNITED STATES TRUSTEE, SECURED CREDITOR,

                                                                       3   AND OTHER PARTIES IN INTEREST:

                                                                       4                                        EMERGENCY MOTION

                                                                       5            One Way Loans, LLC, a California limited liability company, d/b/a PowerLend, debtor

                                                                       6   and debtor in possession in the above-captioned case (the “Debtor”), pursuant to 11 U.S.C. §§

                                                                       7   363(a), 363(c)(2), and 552(b)(1), Rule 4001(b) of the Federal Rules of Bankruptcy Procedure, and

                                                                       8   Local Bankruptcy Rules 2081-1(a)(9) and 9075-1(a), hereby moves this Court for an interim

                                                                       9   order and final order authorizing the Debtor’s use of cash collateral and other ancillary relief (the

                                                                      10   “Motion”).
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                                                                      11               INTRODUCTION AND NEED FOR RELIEF ON EMERGENCY BASIS
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                                                                      12            On December 17, 2018 (the “Petition Date”), the Debtor commenced the above-captioned
                                                                      13   bankruptcy case. The Debtor is a start-up company formed in April 2017 that provides personal
                                                                      14   installment loans in the consumer loan market. It provides fast, flexible, and affordable loan
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                                                                      15   products to individuals in need of immediate cash. The Debtor’s goal is to bridge cash flow
                                                                      16   shortages with industry-leading financial solutions that are both affordable to and in the best
                                                                      17   interests of individuals while at the same time improve their credit.
                                                                      18            The Debtor has one secured creditor, JGB Glenmachrie Ltd. a/k/a JGB (Cayman)
                                                                      19   Glenmachrie Ltd. (“JGB Cayman”). Pre-petition, to allow the Debtor to begin its loan making
                                                                      20   operations, the Debtor obtained a secured credit facility from JGB Cayman for up to $30,125,000
                                                                      21   (the “JGB Facility”) collateralized by assets having a combined value of approximately
                                                                      22   $14,600,000. This collateral includes, but is not limited to, a first priority lien on a 23-acre real
                                                                      23   estate development property recently valued at $12,100,000 owned by a third party entity (the
                                                                      24   “Watermark Property”) and approximately $2,500,000 in the Debtor’s loan receivables. JGB
                                                                      25   Caymen, however, funded only $5,125,000 under that facility and, despite being over-
                                                                      26   collateralized, unreasonably refused to advance any additional funds under the JGB Facility. JGB
                                                                      27   Caymen asserts that it is currently owed approximately $6,198,402.78.
                                                                      28            More recently, alleging certain defaults, JGB Cayman accelerated the loan and, on
                                                                                                                               1
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                                                                       1   November 13, 2018, purportedly through JGB Collateral, LLC, as collateral agent for JGB

                                                                       2   Cayman (collectively with JGB Cayman and other JGB-affiliated entities, “JGB”), filed an action

                                                                       3   in the Supreme Court of New York seeking monetary damages (the “State Court Action”). The

                                                                       4   following day, JGB filed a motion for a preliminary injunction seeking, among other things, to

                                                                       5   seize the Debtor’s bank accounts and loan receivables (the “Injunction Motion”). The hearing on

                                                                       6   the Injunction Motion did not proceed in light of this bankruptcy filing.

                                                                       7            JGB’s success on the Injunction Motion would have crippled the Debtor’s business, which

                                                                       8   appears to have been JGB’s true objective from the start. It would have destroyed the Debtor’s

                                                                       9   ability to service and collect its approximately $1,900,000 of delinquent loans and reduce any

                                                                      10   liability to JGB.
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                                                                      11            Furthermore, approximately $70,000 of collections currently is being held in an account
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                                                                      12   owned by First Associates, the Debtor’s third party loan servicer, as a result of the disputes

                                                                      13   between the Debtor and JGB. First Associates agreed to “freeze” its account in light of disputes

                                                                      14   between the parties. As of the Petition Date, the Debtor does not have access to the approximately
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                                                                      15   $70,000 in such account and, absent an order of this Court authorizing use of cash collateral, will

                                                                      16   not have access to such cash or any additional funds deposited with First Associates (the “First

                                                                      17   Associates Funds”).
                                                                      18            As a result, in order to protect the Debtor and its creditors, the Debtor commenced this
                                                                      19   reorganization case to provide it with an opportunity to restructure its debts. To achieve this goal,
                                                                      20   the Debtor intends to obtain replacement DIP financing for additional working capital and to
                                                                      21   payoff JGB. The Debtor has been actively seeking and exploring such financing options and is
                                                                      22   confident it will have an acceptable term sheet from a proposed DIP lender for limited financing in
                                                                      23   short order that, together with the use of cash collateral, will provide the Debtor with working
                                                                      24   capital to fund operations until it secured financing to take out JGB.1 As discussed below,
                                                                      25

                                                                      26   1
                                                                            The Debtor’s financial advisor is reasonably confident that by mid-January 2019, the Debtor could secure
                                                                      27   an acceptable term sheet for a further DIP loan in an amount sufficient to replace the JGB credit facility,
                                                                           with the potential to close about 30 to 45 days thereafter.
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                                                                       1   however, out of an abundance of caution, to account for the possibility that the DIP financing

                                                                       2   sought is not procured by the time currently contemplated or is otherwise not approved, the Debtor

                                                                       3   prepared an alternate budget that still provides for the Debtor’s cash-flow positive operations for

                                                                       4   an eight-week period.

                                                                       5             The Debtor requires the uninterrupted use of cash collateral. With certain expenses

                                                                       6   requiring the use of cash collateral due this week and each of the following budgeted weeks

                                                                       7   thereafter, and given the upcoming holidays starting next week, during which the Court likely is

                                                                       8   dark and parties may be unavailable, the Debtor seeks an emergency hearing on this Motion

                                                                       9   this week (and, preferably, no later than this Thursday).

                                                                      10             If the Debtor loses the ability to access funds collected from its loan portfolios, including
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                                                                      11   the defaulting loan accounts, the Debtor would essentially be forced out of business. The Debtor
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                                                                      12   would be unable to service its loan portfolio, effectively implement collection efforts on

                                                                      13   delinquent loans, pay employee wages, utilities, rent, and other operating expenses. In short, the

                                                                      14   Debtor must have uninterrupted access to cash to continue operations.
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                                                                      15             With an asserted outstanding balance of approximately $6,198,402.782 (the Debtor’s total

                                                                      16   secured debt), secured with collateral valued at approximately $14,600,000, JGB enjoys an
                                                                      17   enormous equity cushion of no less than 57%, which more than adequately protects its interest.
                                                                      18   Moreover, on top of its equity cushion, JGB will be adequately protected by a combination of: (a)
                                                                      19   the continued operation of the Debtor’s business, including servicing and collecting on its loans
                                                                      20   and consequent protection of JGB’s interest in its collateral; (b) periodic adequate protection
                                                                      21   payments as set forth in the Budget; and (c) to the extent JGB’s lien is valid, enforceable,
                                                                      22   properly-perfected, and unavoidable, replacement liens on post-petition receivables and proceeds
                                                                      23   from existing loans to the extent of any diminution in value of JGB’s collateral as a result of the
                                                                      24   Debtor’s cash collateral usage.
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                                                                               Nothing herein should be construed as the Debtor’s concession to this asserted outstanding amount.
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                                                                       1                                             RELIEF SOUGHT

                                                                       2            Based on the foregoing, to avoid immediate and irreparable harm to the Debtor, the Debtor

                                                                       3   requires and seeks an interim order authorizing the use of cash collateral on an expedited basis,

                                                                       4   followed by a final order, pursuant to either a preferred proposed 15-week budget or, in the

                                                                       5   alternative, a proposed 8-week budget.

                                                                       6            The Motion attaches to two alternate budgets. The first budget contemplates the Debtor’s

                                                                       7   procurement of DIP financing in the total amount of $3,000,000 in or about early January 2019,

                                                                       8   with the first draw in the sum of $2,000,000, less gross loan and legal fees netting $1,900,000, in

                                                                       9   early January 2019, with two subsequent draws of $500,000 each in February and March 2019

                                                                      10   (the “First Budget”). The First Budget is attached to the concurrently-filed Appendix of Exhibits
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                                                                      11   in Support of Motion For Interim And Final Orders Authorizing Use of Cash Collateral (the
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                                                                      12   “Appendix of Exhibits”) as Exhibit 1. The second budget is an alternate cash collateral budget
                                                                      13   that does not contemplate the Debtor’s procurement of such DIP financing by such time, and
                                                                      14   contemplates the Debtor’s operations without DIP financing and based only on cash collateral for
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                                                                      15   an approximate period of eight weeks (the “Alternate Budget,” and together with the First Budget,
                                                                      16   the “Cash Collateral Budgets”). The Alternate Budget is attached to the Appendix of Exhibits as
                                                                      17   Exhibit 2. This Alternate Budget was prepared in the event the DIP financing is not procured by
                                                                      18   the time currently contemplated or is not otherwise approved by the Court at such time.3
                                                                      19            More specifically, the Debtor requests that the Court: (a) permit the Debtor to use cash
                                                                      20   collateral to the extent necessary to avoid irreparable harm pending a final hearing in accordance
                                                                      21   with at least one of the Cash Collateral Budgets and the interim order on the Motion; (b) schedule
                                                                      22   a final hearing on this Motion under Rule 4001(b)(2); (c) following the final hearing, authorizing
                                                                      23   the Debtor to use cash collateral in order to pay its ordinary and necessary operating expenses and
                                                                      24

                                                                      25   3
                                                                             The Debtor also requests some flexibility in connection with the Cash Collateral Budgets; namely, that the
                                                                      26   Debtor be permitted to exceed the disbursements forecasted in the Cash Collateral Budgets by up to 15%
                                                                           on a line-by-line basis and to exceed aggregate disbursements forecasted in the Cash Collateral Budgets by
                                                                      27   a total of 10%. The Debtor further requests that the balance of any unspent amounts on a weekly basis
                                                                           carry forward to be available to the Debtor in the following weeks.
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                                                                       1   generally operate its business in accordance with the Cash Collateral Budgets on a final basis

                                                                       2   pursuant to the First Budget or the Alternate Budget (depending on the circumstances), as may be

                                                                       3   supplemented in advance of the final hearing, which budget would be deemed the “Final

                                                                       4   Budget”;4 (d) grant the adequate protection described above, including the replacement liens (but

                                                                       5   only to the extent that JGB’s security interests are valid, enforceable, properly-perfected, and

                                                                       6   unavoidable, and the Debtor’s use of cash collateral results in diminution in the value of their cash

                                                                       7   collateral.

                                                                       8            The Debtor also requests that the order approving this Motion include a direction to: (i)

                                                                       9   First Associates to release the First Associates Funds, which includes any funds it currently holds

                                                                      10   and any funds that it collects in the future, to the Debtor; and (ii) all financial institutions with
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                                                                      11   which the Debtor has bank accounts to comply with the order on the Motion, and abide by the
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                                                                      12   Debtor’s direction as to the disbursement of its funds, even to the extent of any deposit account

                                                                      13   control agreements, or “lock box” agreements, that may be in effect as of the Petition Date.

                                                                      14            Absent an immediate hearing and entry of an order granting this Motion, the Debtor would
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                                                                      15   not have access to sufficient cash to pay ordinary and necessary expenses essential to continuing

                                                                      16   its operations, which, in turn, would irreparably jeopardize the Debtor’s prospects for a successful

                                                                      17   reorganization and/or its efforts to maximize the value of the Estate for the benefit of creditors.

                                                                      18            This Motion is based upon these moving papers, the accompanying memorandum of points

                                                                      19   and authorities, the concurrently-filed omnibus declaration of David Redlener (the “Redlener

                                                                      20   Declaration”), the declaration of Donald A. Stukes (the “Stukes Declaration”), the record in this
                                                                      21   case, the arguments and representations of counsel, and any other evidence or argument that may
                                                                      22   be presented prior to or at the hearing on this Motion.
                                                                      23   ///
                                                                      24   ///
                                                                      25

                                                                      26   4
                                                                            In the event the Debtor procures and seeks authority for DIP financing, the Debtor may supply an updated
                                                                      27   or supplemental budget that accounts for such DIP financing depending on the particular terms and nature
                                                                           of the DIP financing.
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                                                                       1            WHEREFORE, the Debtor respectfully requests that this Court: (1) grant the Motion; (2)

                                                                       2   (2) authorize the Debtor’s use of cash collateral as requested herein (including, but not limited to,

                                                                       3   the release of the First Associates Funds); (3) enter an order authorizing such use of cash collateral

                                                                       4   on a final basis; (4) enter an order authorizing such use of cash collateral on an interim basis

                                                                       5   pending the final hearing (a proposed form of which is appended to the Appendix of Exhibits as

                                                                       6   Exhibit 3) and entry of the final order on the Motion (a proposed form of which is appended to the

                                                                       7   Appendix of Exhibits as Exhibit 4); (5) authorize the proposed forms of adequate protection; and

                                                                       8   (6) provide such other and further relief as is proper.

                                                                       9   Dated: December 18, 2018                   SulmeyerKupetz
                                                                                                                      A Professional Corporation
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                                                                                                                      By: /s/ Asa S. Hami
                                                                      12                                                  Asa S. Hami
                                                                                                                          Attorneys for Debtor and Debtor in Possession
                                                                      13                                                  One Way Loans, LLC, d/b/a PowerLend
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                                                                       1                         MEMORANDUM OF POINTS AND AUTHORITIES5

                                                                       2            The Debtor hereby submits the following memorandum of points and authorities in support

                                                                       3   of the Motion.

                                                                       4                                                       I.

                                                                       5                                      JURISDICTION AND VENUE

                                                                       6            This Motion seeks authority to use cash collateral and related relief. This Court has

                                                                       7   jurisdiction to consider the Motion under 28 U.S.C. §§ 157 and 1334. This matter is a core

                                                                       8   proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (M) and (O). Venue is proper before this Court

                                                                       9   pursuant to 28 U.S.C. §§ 1408 and 1409. Pursuant to the Motion, the Debtor seeks authority to

                                                                      10   use cash collateral to pay its ordinary and necessary expenses, operate its business, and meet
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                                                                      11   administrative expenses. The statutory predicates for the relief requested herein are 11 U.S.C. §§
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                                                                      12   363(a), 363(c)(2), and 552(b)(1).

                                                                      13                                                      II.

                                                                      14                                                   FACTS
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                                                                      15   A.       The Debtor, Its Management, And Summary of Business Operations
                                                                      16            On December 17, 2018, the Debtor filed its voluntary petition for relief under chapter 11 of
                                                                      17   the Bankruptcy Code, commencing this case. The Debtor continues to operate its business and
                                                                      18   manage its affairs as a debtor in possession in this case.
                                                                      19            The Debtor, a California limited liability company, dba PowerLend, was founded on April
                                                                      20   11, 2017, in California. The Debtor operates an online subprime small-loan consumer finance
                                                                      21   business in the State of California. It provides fast, flexible, and affordable loan products to
                                                                      22   individuals in need of immediate cash. The Debtor’s goal is to bridge cash flow shortages with
                                                                      23   industry-leading financial solutions that are both affordable to and in the best interest of
                                                                      24   individuals while at the same time improve their credit. The Debtor is licensed in California,
                                                                      25   Missouri, and Utah.
                                                                      26
                                                                           5
                                                                      27    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the motion to
                                                                           which this memorandum of points and authorities is appended.
                                                                      28


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                                                                       1            The Debtor originated its first loan on February 6, 2018. The Debtor funded over 1,000

                                                                       2   consumer loans in excess of $2,800,000 during its first few months operations in 2018. The

                                                                       3   Debtor also currently services approximately $1,900,000 of delinquent loans.

                                                                       4            The Debtor has the following founding members (the “Founder Members”): (1)

                                                                       5   DCMRED, LLC (whose manager is David Redlener (“Redlener”)); (2) LME Capital LLC (whose

                                                                       6   manager is Moses Gross); (3) JAAT Holdings, LLC (whose manager is Harinder Rana (“Rana”));

                                                                       7   (4) Erika Harvel (“Harvel”); (5) Michael Silberman (“Silberman”); and (6) Jorge Aroche. The

                                                                       8   Founder Members hold membership interests in the Debtor ranging from 1.00% to 45.00%, except

                                                                       9   that Harvel no longer holds a membership interest in the Debtor. In addition, as of on or about

                                                                      10   August 31, 2018, Doolster Holdings, LLC, obtained a 5.00% membership interest (both economic
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                                                                      11   and voting) in the Debtor.
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                                                                      12            The Debtor also currently has the following limited members (the “Limited Members”):

                                                                      13   (1) JGB Claggain Bay, Inc., a JGB affiliate; (2) BRNB, LLC; (3) Sherbrooke Holdings LLC; and
                                                                      14   (4) Present Media Group, Inc. The Limited Members also hold minority membership interests in
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                                                                      15   the Debtor, with JGB Claggain Bay, Inc., holding a membership interest of 9.99%.6
                                                                      16            Redlener serves as the Debtor’s Chief Executive Officer. Silberman serves as the Debtor’s
                                                                      17   President, Chief Financial Officer, and Secretary, with Harvel serving as its Chief Operating
                                                                      18   Officer. The Debtor also had a Board of Directors consisting of Redlener, Silberman, Harvel,
                                                                      19   Rana, and Brad Powers.
                                                                      20            As of the Petition Date, the Debtor has 12 employees (among which includes Redlener,
                                                                      21   Silberman, Rana, and Harvel). The most recent payday was November 15, 2018, at which only
                                                                      22   six employees were paid (and, given the tight cash position of the Debtor, only a percentage of the
                                                                      23   total amount due), with the next contemplated payday not until January 4, 2018. Payroll for
                                                                      24   certain employees is on a monthly basis, and semi-monthly for other employees. The average
                                                                      25
                                                                           6
                                                                      26     Subsequent to the Debtor’s First Revised Operating Agreement, a series of documented equity transfers
                                                                           have occurred but not yet incorporated into a Second Revised Operating Agreement, under which the
                                                                      27   equity ownership interests of BRNB, LLC, and Present Media Group, Inc., were converted to profit sharing
                                                                           interests.
                                                                      28


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                                                                       1   amount the Debtor needs for any given monthly payroll period in the ordinary course of business

                                                                       2   is approximately $67,033 (wages only and not including benefits or employer taxes). The average

                                                                       3   amount the Debtor needs for any given semi-monthly payroll period in the ordinary course of

                                                                       4   business is approximately $21,018 (wages only and not including benefits or employer taxes).

                                                                       5   The Debtor also offers various employee benefits, including, for example, medical, vision, dental

                                                                       6   insurance, and parking.

                                                                       7            A more detailed discussion of the Debtor’s employee wage obligations, employee benefits,

                                                                       8   and other related information is included in the concurrently-filed “first day” motion to authorize

                                                                       9   payment of certain pre-petition wages and maintenance of employee benefit programs.

                                                                      10   B.       Recent Financial Results
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                                                                      11            To date, the Debtor has funded its activities largely through debt financings. Based on the
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                                                                      12   most recent financial statements, for the nine months ended September 30, 2018, the Debtor
                                                                      13   generated revenues in the aggregate of approximately $1,676,122. Expenses during that time
                                                                      14   totaled approximately $1,986,588, which includes operating expenses in the sum of approximately
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                                                                      15   $1,009,376, and interest and other expenses in the sum of approximately $977,212. The Debtor’s
                                                                      16   cash at July 31, 2018, August 31, 2018 and September 30, 2018, totaled approximately $197,657,
                                                                      17   $140,821, and $114,635, respectively.
                                                                      18            The Debtor’s management believes that the Debtor’s cash, collections on its active and
                                                                      19   recovery portfolios, equity investment and additional debt offerings will provide for adequate
                                                                      20   liquidity.
                                                                      21   C.       Servicing And Collection of Loan Portfolio And Cash Management System
                                                                      22            The Debtor’s active loan accounts are serviced by a third-party servicer, First Associates,
                                                                      23   where regular consumer payments from these loans are deposited into an account in the Debtor’s
                                                                      24   name at Preferred Bank. This account is designated in a Deposit Account Control Agreement with
                                                                      25   JGB (the “DACA”) as the “Collection Account.” JGB has the right to sweep this bank account
                                                                      26   pursuant to the terms of the DACA upon an event of default. Defaulted or “de-boarded” customer
                                                                      27   loan accounts are serviced by the Debtor’s in-house collection team.
                                                                      28            The Debtor maintains the following accounts at Preferred Bank to conduct business:


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                                                                       1   Collections Account, Operating Account, Funding Account and the Payroll Account. Pre-petition,

                                                                       2   the Debtor employed the following cash management system with respect to payments processed

                                                                       3   by First Associates: (i) payments from the Debtor’s borrowers are deposited into a First Associates

                                                                       4   bank account; (ii) First Associates then transfers the funds to the Collection Account (less a

                                                                       5   service fee); and (iii) the Debtor subsequently transfers those funds to its Operating Account on a

                                                                       6   daily basis to pay the Debtor’s operating (Operating Account), loan origination (Funding

                                                                       7   Account), payroll (Payroll Account), and other business related costs. Excess funds, if any, would

                                                                       8   be used for new loan originations.

                                                                       9            The Debtor utilizes a third-party ACH provider to disburse loan proceeds directly to new

                                                                      10   borrowers. In order to fund this ACH provider, the Debtor transfers cash from the Operating
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                                                                      11   Account to the Funding Account and from the Funding Account directly to the ACH provider.
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                                                                      12            The Debtor also utilizes a third-party payroll provider to pay its employees. When paying

                                                                      13   its employees, the Debtor transfers cash from the Operating Account to the Payroll Account from

                                                                      14   which the third-party payroll provider drafts the amount necessary to process payroll checks. In
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                                                                      15   addition to these primary accounts, the Debtor maintains a fifth account that holds $75,107.44.

                                                                      16   This cash supports a Letter of Credit for the benefit of the Debtor’s primary landlord. The Debtor

                                                                      17   has no control over this account. All these accounts are at Preferred Bank.

                                                                      18            Aside from payments processed through First Associates, the Debtor also receives loan

                                                                      19   payments from non-performing borrowers directly through the efforts of the Debtor’s in-house

                                                                      20   collections team vis-à-vis ACH, or check, which payments previously were deposited directly into

                                                                      21   the Debtor’s operating account.

                                                                      22              As disputes between the Debtor and JGB escalated (discussed in more detail below and

                                                                      23   the concurrently-filed Redlener Declaration), the Debtor had consumer receivables collected by

                                                                      24   First Associates and payments made on account of delinquent loans deposited into a bank account

                                                                      25   held by DCMRED, LLC (one of the Debtor’s Founder Members) (also at Preferred Bank). This

                                                                      26   was done to ensure the Debtor would have the ability to continue operations, service its loan

                                                                      27   portfolio, and have a stream of revenue to pay limited salaries and collections on defaulting loans

                                                                      28   and preserve the collateral upon which JGB had a security interest, which the Debtor was


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                                                                       1   servicing in-house.

                                                                       2            The limited revenues collected by the Debtor in-house are used to pay for ongoing

                                                                       3   collection efforts, minimal staffing, utilities and other essential business requirements necessary to

                                                                       4   prevent further deterioration of the loan portfolio.7 These funds also permit the Debtor to continue

                                                                       5   to service these loans.

                                                                       6            First Associates currently holds in an account approximately $70,000 and is expected to

                                                                       7   receive between $10,000 to $25,000 per week in cash remittances received on behalf of the

                                                                       8   Debtor. In light of such disputes, First Associates has agreed to “freeze” that account, and will not

                                                                       9   release any of the funds it currently holds or will receive, pending further instructions from the

                                                                      10   parties or order of court.
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                                                                      11            The Debtor authorized First Associates to provide JGB with full access to the loan
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                                                                      12   portfolio and cash remittance data for the loans that it was servicing on behalf of the Debtor

                                                                      13   through an internet portal, upon JGB’s request. Since the outset, the Debtor and JGB

                                                                      14   communicated by email and telephone regularly concerning weekly and monthly cash and loan
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                                                                      15   reports, First Associates portfolio remittances, financial statements, bank statements, and other

                                                                      16   loan portfolio matters.

                                                                      17            The consumer loan payment receivables that have been collected and are presently in the

                                                                      18   possession of First Associates are secure and fully accounted for. As set forth above, JGB has

                                                                      19   access to this information and has firsthand knowledge of the funds on account with First

                                                                      20   Associates through the internet portal.

                                                                      21   D.       The Debtor’s Assets

                                                                      22            As of the Petition Date, the Debtor had total assets valued at approximately $5,500,000.
                                                                      23   The Debtor’s primary asset is its loan receivables in the approximate amount of $2,500,000. The
                                                                      24   Debtor’s other assets deferred marketing expenses of approximately $2,141,538 and other prepaid
                                                                      25   expenses and assets in the aggregate of approximately $179,265, as well as intangibles, equipment
                                                                      26
                                                                           7
                                                                      27    It should be noted that the Debtor’s Loan Agreement with JGB allows for the payment of salaries, even
                                                                           upon an event of default as “Permitted Compensation.”
                                                                      28


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                                                                       1   and cash.

                                                                       2   E.       The Debtor’s Liabilities

                                                                       3            The Debtor has estimated liabilities in the aggregate of approximately $5,800,000.

                                                                       4            This includes: (a) JGB’s secured debt in the principal amount of $5,125,000 (although JGB

                                                                       5   currently claims the total outstanding amount due is approximately $6,198,402.78), the only

                                                                       6   amount JGB ultimately advanced under the $30,000,000 JGB Facility; (b) an unsecured note in

                                                                       7   the principal amount of $1,700,000 in favor of P&G Holdings, LLC/Moses Gross (one of the

                                                                       8   Debtor’s Founder Members) provided as part of P&G Holding’s agreement to pledge the

                                                                       9   Watermark Property as collateral for the JGB Facility; (c) two unsecured working capital loans,

                                                                      10   each in the amount of $100,000, one from Jorge Aroche and another from Silberman; and (d)
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                                                                      11   unsecured trade payables in the aggregate of approximately $256,907.00.
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                                                                      12   F.       The JGB Loan And Related Disputes

                                                                      13            1.      Background
                                                                      14            Around the time the Debtor was created, it entered negotiations with JGB, who agreed to
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                                                                      15   provide the Debtor an initial credit facility in the amount of $30,125,000.00. A true and correct
                                                                      16   copy of the loan Term Sheet issued by “JGB Management Inc.” is attached to the Appendix of
                                                                      17   Exhibits as Exhibit 5.
                                                                      18            The JGB Facility was supposed to allow the Debtor to begin its loan making operations,
                                                                      19   with a requirement that JGB Claggain Bay, Inc. (presumably another JGB affiliate) become a
                                                                      20   9.99% percent equity (limited) partner and part owner of the Debtor. A true and correct copy of
                                                                      21   the Limited Liability Company Agreement for the Debtor, dated December 1, 2017, evidencing
                                                                      22   JGB’s 9.99% equity interest is attached to the Appendix of Exhibits as Exhibit 6. The JGB Term
                                                                      23   Sheet memorialized the parties’ understandings and responsibilities and was executed by JGB
                                                                      24   Management Inc. and the Debtor on November 6, 2017. See Exhibit 5.
                                                                      25            Thereafter, the loan agreement was processed, loan documents were executed by email in
                                                                      26   piecemeal by the parties, and the closing completed on December 1, 2017.
                                                                      27            2.      The JGB Loan Documents And Collateral
                                                                      28            The loan arrangement between the parties included numerous forms of collateral


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                                                                       1   demanded by JGB to secure its interests, including a first priority lien on the 23-acre Watermark

                                                                       2   Property recently valued at $12.1 million. This collateral alone far exceeds the $5,125,000.00

                                                                       3   advance JGB made to the Debtor, as it was given in reliance of JGB’s promise to provide

                                                                       4   additional capital. JGB also took an equity interest and became a 9.99% member of the Debtor.

                                                                       5   This is in addition to guaranties, pledges and other collateral JGB took to secure the JGB Facility.

                                                                       6            The loan documents and collateral include: (a) Promissory Note in the sum of

                                                                       7   $30,125,000.00 in favor of JGB Cayman; and (b) Loan and Security Agreement (the “Loan

                                                                       8   Agreement”) in favor of JGB Collateral, LLC, as collateral Agent for JGB Cayman, granting JGB

                                                                       9   a security interest in substantially all of the Debtor’s assets, including, but not limited to, its loan

                                                                      10   portfolio. True and correct copies of the Promissory Note and Loan Agreement are attached to the
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                                                                      11   Appendix of Exhibits as Exhibit 7 and Exhibit 8, respectively.
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                                                                      12            The JGB Facility was secured by an extensive array of documents and diverse collateral
                                                                      13   aside from substantially all of the Debtor’s assets (the “Additional Collateral”) including the
                                                                      14   following (collectively with the Note and Loan Agreement, the “Loan Documents”):
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                                                                      15               Guaranty Agreement executed by each of: (i) Redlener; (ii) DCMRED, LLC; (iii)
                                                                                        Harvel; (iv) Rana; (v) JAAT Holdings, LLC; and (vi) Silberman.
                                                                      16
                                                                                       Pledge Agreement executed by each of: (i) DCMRED; (ii) Harvel; (iii) JAAT Holdings;
                                                                      17
                                                                                        and (iv) Silberman.
                                                                      18
                                                                                       Numerous UCC-1 filings filed against the following parties in either California,
                                                                      19                Delaware, or New York: (i) the Debtor; (ii) Harvel; (iii) Silberman; (iv) DCMRED; and
                                                                                        (v) JAAT Holdings.
                                                                      20
                                                                                       Four separate mortgages securing the approximately 23-acre Watermark Property
                                                                      21                owned by P&G Holdings LLC, d/b/a P&G Holdings NY LLC, and located in
                                                                      22                Muskegon, Michigan, having a fair market value of $12,100,000.00 pursuant to a June
                                                                                        26, 2018 appraisal prepared by Colliers International. A true and correct copy of this
                                                                      23                appraisal is attached to the Appendix of Exhibits as Exhibit 9. True and correct copies
                                                                                        of the mortgage filings against the Watermark Property are attached to the Appendix of
                                                                      24                Exhibits, collectively, as Exhibit 10.
                                                                      25               A new Limited Liability Company Agreement for the Debtor (drafted by JGB’s
                                                                      26                counsel) granting JGB Claggain Bay, Inc., a JGB affiliate, a 9.99% limited interest in
                                                                                        the Debtor.
                                                                      27
                                                                                       A Deposit Account Control Agreement.
                                                                      28


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                                                                       1            The loan closed on December 1, 2017. The total closing costs paid equaled $428,076.00

                                                                       2   (based on a loan of $5,125,000.00), with JGB’s legal fees alone totaling more than 20% of this

                                                                       3   amount. Closing costs included a payment for legal fees to JGB’s attorneys in the sum of

                                                                       4   $79,500.00, and another legal fee of $10,000.00 to another set of counsel for JGB to prepare the

                                                                       5   four mortgages encumbering the Watermark Property. As a result, the $5,125,000 advanced

                                                                       6   yielded working capital of only $4,696,924.00 for the Debtor. A true and correct copy of the

                                                                       7   closing statement for the JGB Loan (“Flow of Funds Memorandum”) is attached to the Appendix

                                                                       8   of Exhibits as Exhibit 11.8

                                                                       9            The Debtor now services over 1,000 consumer loans it originated. These loans in the

                                                                      10   Debtor’s portfolio are also collateral under the Loan Agreement.
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                                                                      11            3.      The Debtor’s Compliance With its Loan Obligations to JGB
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                                                                      12            The Debtor made nine monthly interest payments, of approximately $79,000 each, totaling
                                                                      13   $702,122 at the rate of 18% per annum to JGB. The first interest payment was on December 27,
                                                                      14   2017, and the last on September 5, 2018.
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                                                                      15            Contrary to allegations JGB has made in the State Court Action, the Debtor complied with
                                                                      16   its reporting obligations to JGB and otherwise supplied it with substantial information on a regular
                                                                      17   basis. The Debtor provided JGB with monthly financial reports, cash reports, monthly and weekly
                                                                      18   collateral reports for active accounts on a regular basis, and later on, information on delinquent
                                                                      19   accounts and on-going collection efforts.
                                                                      20            JGB also was given full access to the First Associates loan report portal providing full
                                                                      21   access to loan reports related to the Debtor loan portfolio with First Associates immediately upon
                                                                      22   JGB’s request.
                                                                      23            From the start, the Debtor also provided JGB access to the online bank accounts. Attached
                                                                      24   to the Appendix of Exhibits as Exhibit 12 is a true and correct copy of an email dated February 2,
                                                                      25

                                                                      26   8
                                                                            On information and belief, JGB did not acquire the Lender’s Environmental Liability Insurance policy
                                                                      27   despite holding back $40,000 for that purpose from the loan proceeds, contrary to the parties’ loan
                                                                           agreement. See Exhibit 11.
                                                                      28


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                                                                       1   2018, confirming this arrangement and JGB’s acknowledgment of having access to the Preferred

                                                                       2   Bank online account. The Debtor was in constant communication with JGB throughout 2018, and

                                                                       3   most importantly, even after the last submission of monthly reports on August 9, 2018.

                                                                       4   Communications from August 10, 2018, through the date of default did not pertain to the delivery

                                                                       5   of loan portfolio reports generated by the Debtor. The post-August 9 communications were

                                                                       6   primarily discussions regarding release of the loan receivables for the purpose of securing

                                                                       7   additional financing, as well as terms of a JGB payoff.

                                                                       8            At no time was the Debtor made aware of any mention made by JGB regarding any lack of

                                                                       9   reporting or reports or any request for same that went unanswered. JGB has all of the Debtor’s

                                                                      10   principals’ contact information, including emails, office and mobile telephone numbers.
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                                                                      11   Notwithstanding the foregoing, there may have been one occasion where JGB contacted the
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                                                                      12   Debtor to transmit reports, which was immediately complied with and transmitted to JGB.

                                                                      13            Upon request in November 2018, JGB was also granted access to the First Associates

                                                                      14   internet portal repository for all loan reports related to the Debtor’s loan portfolio. Once JGB had
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                                                                      15   gained access to the bank account and the internet portal repository, it was redundant, repetitive,

                                                                      16   and unnecessary for the Debtor to keep forwarding the same financial reports and loan portfolio

                                                                      17   information to which JGB already had full access.

                                                                      18            4.      JGB’s Refusal to Advance Additional Capital And Other Acts of Bad Faith

                                                                      19            Pursuant to the terms of the Loan Agreement, it was further agreed and understood that
                                                                      20   JGB would continue to fund the Debtor’s loan operations on a regular basis, with up to an
                                                                      21   additional $25,000,000.00 in capital, provided that certain goals and performance markers were
                                                                      22   met, including making interest payments of approximately $79,000.00 per month to JGB, which
                                                                      23   were duly made. This promise was a material term upon which the Debtor relied when entering
                                                                      24   into the loan arrangement and providing the Additional Collateral.
                                                                      25            However, JGB then only funded $5,125,000 under that JGB Facility, refused to provide
                                                                      26   additional capital funds. This left the Debtor with a limited amount of working capital and
                                                                      27   affected its ability to generate new loans. After JGB refused to advance additional capital, the
                                                                      28   Debtor sought a release of lien on the loan portfolio so it could access other credit facilities and


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                                                                       1   pay off JGB. This request was unreasonably denied, thereby further hampering the Debtor’s

                                                                       2   ability to initiate new loans and conduct business. Numerous efforts were made by the Debtor to

                                                                       3   sustain and grow the business.

                                                                       4            In March 2018, the Debtor was offered a tremendous opportunity to finance and defer

                                                                       5   marketing and lead generation costs utilizing a subordinated credit line. In that these are the

                                                                       6   perhaps the most significant line item expenses, it was an opportunity to enhance cash flow,

                                                                       7   maintain JGB’s cash requirements, and allow for increased loan origination. However, JGB

                                                                       8   would not consent to this subordinated credit line.

                                                                       9            In July 2018, after hitting every monthly loan origination target and just 45-60 days from

                                                                      10   being both cash-flow positive and profitable, the Debtor requested an additional advance under its
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                                                                      11   $30 million Credit Facility. Despite having excellent collateral coverage from the 23-acre
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                                                                      12   Watermark Property with a loan to value ratio of less than 50%, and owning 9.99% of the Debtor,

                                                                      13   JGB still refused to provide a further advance.

                                                                      14            At the time JGB stopped advancing capital necessary to fund the Debtor’s ongoing
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                                                                      15   business operations, it devastated the Debtor’s ability to initiate new loans. As a result, the Debtor

                                                                      16   was unable to initiate any new loans since June 2018, with the exception of two loans in July and

                                                                      17   one loan in August 2018.

                                                                      18            On or about September 18, 2018, JGB suddenly demanded a “redemption” payment in the

                                                                      19   amount of $150,000.00 to be paid on or before September 20, 2018, just two days later. A true

                                                                      20   and correct copy of JGB’s redemption notice is attached to the Appendix of Exhibits as Exhibit

                                                                      21   13. This demand was made in bad faith and was yet another action taken by JGB in the pursuit of
                                                                      22   its predatory strategy to cripple the Debtor’s cash flow and ongoing business operations.
                                                                      23            In addition, as discussed below, in September 2018 (and many times prior and subsequent
                                                                      24   thereto), the Debtor sought financing from credit facilities that would leverage our existing loan
                                                                      25   portfolio. As discussed below, although the Debtor kept JGB informed throughout this process,
                                                                      26   received term sheets from two facilities, JGB’s excellent collateral coverage, and the Debtor’s
                                                                      27   offer to pay $550,000, JGB refused to release the loan portfolio.
                                                                      28            Based on JGB’s actions described above, it became clear that JGB was not acting in the


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                                                                       1   best interest of the Debtor. As such, the Debtor’s managing member, DCMRED LLC, took

                                                                       2   measures to protect the Debtor and curtail the deterioration of collateral. More specifically, the

                                                                       3   consumer receivables collected by First Associates on behalf of the Debtor were deposited into a

                                                                       4   bank account at Preferred Bank held by DCMRED. This was done to ensure the Debtor would

                                                                       5   have the ability to continue operations, service its loan portfolio, and have a stream of revenue to

                                                                       6   pay limited salaries and collections on defaulting loans which the Debtor was servicing in-house.

                                                                       7            5.      JGB’s Declared Defaults And Commencement of Litigation

                                                                       8            On or about October 8, 2018, JGB defaulted the Debtor for a litany of alleged defaults,

                                                                       9   citing, among other things, noncompliance with the terms of the Loan Agreement and failure to

                                                                      10   provide information to JGB (which was false as described above).
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                                                                      11            On or about October 10, 2018, JGB issued an acceleration notice to the Debtor. A true and
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                                                                      12   correct copy of the acceleration notice is attached to the Appendix of Exhibits as Exhibit 14.

                                                                      13            On November 13, 2018, JGB commenced the State Court Action against the Debtor. In
                                                                      14   that action, JGB seeks monetary compensation. JGB concurrently filed the Injunction Motion
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                                                                      15   seeking, among other things, to seize the Debtor’s bank accounts and, in the process, shut down
                                                                      16   the Debtor’s operations. The hearing on the Injunction Motion did not proceed in light of
                                                                      17   commencement of this bankruptcy case.
                                                                      18            At or about the same time as the State Court Action against the Debtor was filed, JGB
                                                                      19   commenced a second action in the Supreme Court of New York pertaining to the same loan
                                                                      20   arrangement and $30,125,000.00 Credit Facility against the guarantors of the Loan.
                                                                      21            6.      Harmful Impact of JGB’s Conduct on The Debtor’s Operations
                                                                      22            JGB’s refusal to advance additional capital, consent to Debtor friendly/subordinated
                                                                      23   financing and its draconian refusal of allowing the Debtor to utilize its existing loan portfolio to
                                                                      24   secure additional financing devastated the Debtor’s ability to initiate new loans. As a result, as
                                                                      25   noted above, the Debtor has been unable to originate any new loans since June 2018, except for
                                                                      26   two loans in July and one in August 2018. Despite JGB’s bad faith and course of conduct, the
                                                                      27   Debtor made nine interest payments totaling $702,122, with the last payment on September 5,
                                                                      28   2018.


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                                                                       1            Although the Debtor ceased originating new loans and reduced its staffing, it did not cease

                                                                       2   operating. The Debtor continued its efforts to collect on its non-performing loan portfolio to

                                                                       3   preserve the value of JGB’s collateral.

                                                                       4            Furthermore, as discussed below, the Debtor’s inability to access and use cash collateral,

                                                                       5   including the First Associates Funds, will force the Debtor out of business.

                                                                       6   G.       Factors Precipitating Chapter 11 Filing

                                                                       7            As discussed above, JGB’s refusal to advance any additional funding under the Credit

                                                                       8   Facility, and its refusal to release its lien on the Debtor’s loan receivables to permit the Debtor to

                                                                       9   obtain additional financing, significantly impeded the Debtor’s cash flow position. Moreover, as

                                                                      10   discussed above, in light of the escalating disputes between the Debtor and JGB, the Debtor no
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                                                                      11   longer had access to the First Associates Funds.
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                                                                      12            More recently, JGB commenced the State Court Action against the Debtor and sought a

                                                                      13   preliminary injunction, among other things, to seize the Debtor’s bank accounts and access the

                                                                      14   First Associates Funds. A hearing on the Injunction Motion was set for December 17, 2018.
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                                                                      15            If the Debtor lost the ability to access any funds collected from its loan portfolios,

                                                                      16   including the defaulting loan accounts and would have been ordered to transfer all of these funds

                                                                      17   to JGB, the Debtor will essentially be forced out of business. The Debtor relies on the consumer

                                                                      18   receivables for operating expenses including servicing the active loan portfolio with First

                                                                      19   Associates.

                                                                      20            To avoid this potential risk and the consequential disastrous results to the interests of the

                                                                      21   Debtor and its creditors (including its secured creditor, JGB) if JGB were successful on the

                                                                      22   Injunction Motion, the Debtor commenced this case to protect the interests of the Debtor and its

                                                                      23   creditors with the goal of achieving a successful reorganization.

                                                                      24   H.       The Debtor’s Restructuring Goals

                                                                      25            The Debtor believes that with adequate working capital it could be cash flow positive in
                                                                      26   short order. In fact, in July 2018, the Debtor was just 45-60 days from being both cash flow
                                                                      27   positive and profitable (but that achievement was thwarted when JGB denied an additional
                                                                      28   advance under the JGB Facility).


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                                                                       1            Pre-petition, the Debtor consistently sought financing from credit facilities that would

                                                                       2   leverage its existing loan portfolio. Throughout this period, the Debtor transmitted emails to JGB

                                                                       3   advising it of the Debtor’s efforts to secure financing, including providing it with prospective

                                                                       4   lender names and the loan details in a showing of good faith to comply with its repayment

                                                                       5   obligations and remain open for business. Ultimately, the Debtor received term sheets from two

                                                                       6   facilities, both requiring a first priority UCC lien on the loan portfolio. However, despite excellent

                                                                       7   collateral coverage from the Watermark Property and the Debtor’s offer to pay $550,000 for the

                                                                       8   release of the loan portfolio, JGB refused to release the loan portfolio. A true and correct copy of

                                                                       9   a July 12, 2018, e-mail from the Debtor to JGB concerning these financing efforts is attached to

                                                                      10   the Appendix of Exhibits as Exhibit 15.
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                                                                      11            Notwithstanding JGB’s posture, the Debtor continued with its efforts to procure financing
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                                                                      12   to obtain additional working capital and/or to payoff and replace the JGB Facility. As set forth in
                                                                      13   the First Budget and the concurrently-filed Redlener Declaration and Stukes Declaration, at this
                                                                      14   point, the Debtor is confident it will have an acceptable term sheet for an initial DIP financing loan
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                                                                      15   from a lender for approximately $1,900,000 (net) to be funded no later than early January,
                                                                      16   followed by a second and third tranche of $500,000 each in or about February and March. Based
                                                                      17   on ongoing discussions with lenders, the Debtor further believes that, by mid-January 2019, the
                                                                      18   Debtor could secure an acceptable term sheet for a further DIP loan from this or another lender in
                                                                      19   an amount sufficient to replace the JGB Facility, with the potential to close about 30 to 45 days
                                                                      20   thereafter, and which will put the Debtor in a position to successfully reorganize its debts and
                                                                      21   emerge from this case a viable going concern. The Debtor anticipates filing a motion to approve
                                                                      22   the initial DIP loan concurrently with the present motion or in the very near future.
                                                                      23            In the event the Debtor is unable to procure the DIP Financing as currently contemplated,
                                                                      24   the Debtor will continue to seek financing to satisfy the existing JBG outstanding loan via a new
                                                                      25   credit facility, in addition to funding to be made available to underwrite new loans consistent with
                                                                      26   the business mandate. Further, efforts will be made to identify a suitable equity partner to provide
                                                                      27   additional capital to support business operations. The Debtor’s proposed Alternate Budget
                                                                      28   provides for the Debtor to continue operations by paying its employees, its key vendors, its


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                                                                       1   required insurances, office lease and necessary administrative fees, until a new credit facility can

                                                                       2   be secured. Such facility could serve as the basis for a proposed Reorganization Plan leading to

                                                                       3   the exit from Chapter 11.

                                                                       4                                                    III.

                                                                       5          SCOPE OF REQUEST FOR USE OF CASH COLLATERAL AND PROPOSED

                                                                       6                                      ADEQUATE PROTECTION

                                                                       7   A.       The Cash Collateral Budgets And Their Approval

                                                                       8            Attached to the Appendix of Exhibits as Exhibit 1 and Exhibit 2 are the Debtor’s two

                                                                       9   proposed cash collateral/operating budgets. Both Cash Collateral Budgets were prepared by the

                                                                      10   Debtor with the assistance of the Debtor’s outside financial consultant Donald A. Stukes of ASI
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                                                                      11   Advisors, LLC. See Stukes Declaration. The Cash Collateral Budgets were reviewed and
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                                                                      12   approved by Redlener (the Debtor’s CEO). See Redlener Declaration.

                                                                      13            The First Budget contemplates the Debtor’s procurement of DIP financing in the total

                                                                      14   amount of $3,000,000 in or about early January 2019, with the first draw in the sum of
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                                                                      15   $2,000,000, less gross loan and legal fees netting $1,900,000, in early January 2019, with two

                                                                      16   subsequent draws of $500,000 each in February and March 2019. The First Budget extends for 15

                                                                      17   weeks, and provides for periodic adequate protection payments to JGB, and includes line items for

                                                                      18   the Debtor’s administrative professional fees.

                                                                      19            The Alternate Budget is an alternate cash collateral budget that does not contemplate the

                                                                      20   Debtor’s procurement of such DIP financing by such time, and contemplates the Debtor’s

                                                                      21   operations without DIP financing and based only on cash collateral for an approximate period of

                                                                      22   eight weeks. This Alternate Budget was prepared in the event the DIP financing is not procured

                                                                      23   by the time currently contemplated or is not otherwise approved by the Court at such time.

                                                                      24            The Debtor requests authority to use cash collateral in accordance with the Cash Collateral

                                                                      25   Budgets. More specifically, the Debtor requests (i) pending a final hearing, emergency authority

                                                                      26   to use cash collateral on an interim basis to satisfy post-petition administrative expenses and

                                                                      27   operational expenses (including, for example, the payment of rent, costs of servicing loans, and

                                                                      28   pre and post-petition wages) in accordance with the First Budget or the Alternate Budget, and


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                                                                       1   (ii) at the final hearing, set not less than 14 days after the interim hearing, final authority to use

                                                                       2   cash collateral pursuant to the First Budget or the Alternate Budget (depending on the

                                                                       3   circumstances), as may be supplemented in advance of the final hearing, which budget would be

                                                                       4   the Final Budget.9

                                                                       5            The Cash Collateral Budgets were prepared based upon historical assumptions of the

                                                                       6   Debtor’s business activity on its performing loans and collection history on its non-performing

                                                                       7   loans. As noted above, the rationale for the First Budget is based upon securing debtor-in-

                                                                       8   possession financing to provide interim cash liquidity to operate the business, underwrite and

                                                                       9   place news loans, and provide adequate protection payments to the senior lender post-petition.

                                                                      10   With the ability to continue operations, the Debtor contemporaneously will be seeking a new
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                                                                      11   senior credit facility that be secured as a take-out of the current debt of JGB, which has an
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                                                                      12   encumbrance on a development project called Watermark owned by a minority owner in the

                                                                      13   Debtor named Moses Gross. Post-petition operational expenses are based upon current service

                                                                      14   contracts, payroll based upon employee compensation agreements, and adequate protection
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                                                                      15   payments identified in the First Budget are based upon the current loan agreement terms.

                                                                      16            The rationale for the Alternate Budget is based upon the Debtor not obtaining approval for

                                                                      17   a DIP loan in the first 8-week period post-petition, but the Debtor will contemporaneously seek

                                                                      18   financing to satisfy the existing JBG outstanding loan via a new credit facility, in addition to

                                                                      19   funding to be made available to underwrite new loans consistent with the business mandate.

                                                                      20   Further, efforts will be made to identify a suitable equity partner to provide additional capital to

                                                                      21   support business operations. The Alternate Budget provides for the Debtor to continue operations

                                                                      22   by paying its employees, its key vendors, its required insurances, office lease and necessary

                                                                      23   administrative fees, until a new credit facility can be secured.

                                                                      24            In addition to various categories of general operating expenses, including payments on the

                                                                      25

                                                                      26   9
                                                                            In the event the Debtor procures and seeks authority for DIP financing, the Debtor may supply an updated
                                                                      27   or supplemental budget that accounts for such DIP financing depending on the particular terms and nature
                                                                           of the DIP financing.
                                                                      28


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                                                                       1   Debtor’s office space lease, both Cash Collateral Budgets contain line items for U.S. Trustee fees.

                                                                       2   As the Cash Collateral Budgets reflect, based on the assumptions underlying the Cash Collateral

                                                                       3   Budgets, the Debtor will be able to operate post-petition with the use of cash collateral on a cash

                                                                       4   flow positive basis through the period covered by the respective budgets.

                                                                       5            All payments described in the Budget are necessary to maintain and continue the Debtor’s

                                                                       6   operations and to maximize the value of the Estate. Failure to make payment in accordance with

                                                                       7   the Cash Collateral Budgets could result in immediate and irreparable harm to the Debtor’s

                                                                       8   operations, the value of the Estate, and the interests of creditors.

                                                                       9            In summary, the Cash Collateral Budgets reflect that, with the anticipated DIP financing

                                                                      10   and funds generated from operations, the Debtor will be able to meet operating and administrative
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                                                                      11   expenses for at least the next 15 weeks, and would be able to operate without the currently
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                                                                      12   contemplated DIP Financing, if necessary, for at least the next eight weeks. Further, the Debtor

                                                                      13   believes that the Cash Collateral Budgets and the assumptions underlying the budgets are

                                                                      14   reasonable and appropriate under the circumstances.
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                                                                      15   B.       Limited Flexibility in Budget And Carryover of Excess Cash

                                                                      16            The Debtor also requests some flexibility in connection with the Cash Collateral Budgets
                                                                      17   such that the Debtor may exceed the disbursements forecasted in the Cash Collateral Budgets by
                                                                      18   up to 15% on a line-by-line basis, and to exceed aggregate disbursements forecasted in the Cash
                                                                      19   Collateral Budgets by a total of 10%.
                                                                      20            Further, the Debtor requests that, to the extent any amount in a disbursement category is
                                                                      21   unused during a particular period, that amount be preserved and available for use in any
                                                                      22   subsequent period. See Exhibit 3 (Proposed Interim Order); Exhibit 4 (Proposed Final Order).
                                                                      23   C.       The Debtor’s Need For Cash Collateral
                                                                      24            The Debtor’s use of cash collateral as set forth in the Cash Collateral Budgets is necessary
                                                                      25   in order to allow the Debtor to move forward with its contemplated reorganization. As discussed
                                                                      26   above, the Debtor’s uninterrupted access to cash is critical to maintaining operations. The Debtor
                                                                      27   relies on the consumer receivables for operating expenses, including servicing the active loan
                                                                      28   portfolio with First Associates.


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                                                                       1             In light of JGB’s excessive collateral coverage, it would be more beneficial and equitable

                                                                       2   if the entirety of the First Associates Funds were released to the Debtor so that it can more

                                                                       3   effectively service its loan portfolio, including the non-performing loan portfolio. Due to

                                                                       4   extremely tight cash flow, the Debtor does not have the resources to maximize collection efforts

                                                                       5   on its $1.9 million non-performing loan portfolio absent release of those funds and use of cash

                                                                       6   collateral.

                                                                       7             If the Debtor is not permitted to access any funds collected from its loan portfolios,

                                                                       8   including the defaulting loan accounts, or the First Associates Funds (those currently held and

                                                                       9   future collections) are not released to the Debtor, the Debtor will essentially be forced out of

                                                                      10   business. This is especially true if the Debtor is unable to obtain the DIP financing as currently
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                                                                      11   contemplated and is not able to use cash collateral. Therefore, absent an immediate hearing and
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                                                                      12   entry of an order granting this Motion, the Debtor would not have access to sufficient cash to pay

                                                                      13   ordinary and necessary expenses essential to continuing its operations, which, in turn, would

                                                                      14   irreparably jeopardize the Debtor’s prospects for a successful reorganization and/or its efforts to
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                                                                      15   maximize the value of the Estate for the benefit of creditors.

                                                                      16   D.        Proposed Adequate Protection

                                                                      17             JGB is more than adequately protected by its security interests and the abundant and
                                                                      18   diverse sources of collateral securing the loan. With an asserted outstanding balance of
                                                                      19   approximately $6,198,402.7810 (the Debtor’s total secured debt), secured with collateral valued at
                                                                      20   approximately $14,600,000 ($12.1 million in Watermark Property and approximately $2.5 million
                                                                      21   in loan receivables), JGB enjoys an enormous equity cushion that adequately protects its interest
                                                                      22   in any cash collateral. Indeed, JGB is over collateralized for its loan and it faces absolutely no risk
                                                                      23   from the Debtor’s use of cash collateral.
                                                                      24               Moreover, JGB will be further protected by a combination of: (a) the continued operation
                                                                      25   of the Debtor’s business, including servicing and collecting on its loans and consequent reduction
                                                                      26

                                                                      27   10
                                                                                Nothing herein should be construed as the Debtor’s concession to this asserted outstanding amount.
                                                                      28


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                                                                       1   of JGB’s outstanding debt, which will preserve the value of JGB’s collateral; (b) periodic adequate

                                                                       2   protection payments to JGB as set forth in the First Budget (assuming DIP Financing is procured

                                                                       3   as reflected in the First Budget); and (c) replacement liens on receivables and proceeds received

                                                                       4   post-petition from existing loans to extent that: (i) the pre-petition security interest of JGB is valid,

                                                                       5   enforceable, properly perfected, and unavoidable; and (ii) the Debtor’s use of cash collateral

                                                                       6   results in diminution in the value of JGB’s collateral.

                                                                       7                                                     IV.

                                                                       8     THIS COURT SHOULD GRANT THE MOTION AND AUTHORIZE THE DEBTOR’S

                                                                       9                                     USE OF CASH COLLATERAL

                                                                      10   A.       Section 363 of The Bankruptcy Code Authorizes The Use of Cash Collateral
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                                                                      11            Section 363 of the Bankruptcy Code governs the Debtor’s use of property of its estate.
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                                                                      12   Section 363(c)(1) provides in pertinent part that:
                                                                      13                    If the business of the debtor is authorized to be operated under
                                                                                            section . . . 1108 . . . and unless the court orders otherwise, the
                                                                      14                    trustee may enter into transactions, including the sale or lease of
                                                                                            property of the estate, in the ordinary course of business, without
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                                                                      15                    notice or a hearing, and may use property of the estate in the
                                                                                            ordinary course of business without notice or a hearing.
                                                                      16
                                                                           11 U.S.C. § 363(c)(1).
                                                                      17
                                                                                    A debtor in possession has all the rights and powers of a trustee with respect to property of
                                                                      18
                                                                           the estate, including the right to use property of the estate in compliance with section 363 of the
                                                                      19
                                                                           Code. See 11 U.S.C. § 1107(a). Section 363(c)(2) establishes a special requirement with respect
                                                                      20
                                                                           to “cash collateral,” by providing that the trustee or debtor in possession may not use, sell or lease
                                                                      21
                                                                           “cash collateral” under subsection (c)(1) unless (i) such entity that has an interest in such collateral
                                                                      22
                                                                           consents, or (ii) the court, after notice and a hearing, authorizes such use, sale or lease.
                                                                      23
                                                                                    “Cash collateral” is defined by the Bankruptcy Code as follows:
                                                                      24
                                                                                            [C]ash, negotiable instruments, documents of title, securities,
                                                                      25                    deposit accounts, or other cash equivalents whenever acquired in
                                                                                            which the estate and an entity other than the estate have an interest
                                                                      26                    and includes the proceeds, products, offspring, rents, or profits of
                                                                                            property and the fees, charges, accounts or other payments for the
                                                                      27                    use or occupancy of rooms and other public facilities in hotels,
                                                                                            motels, or other lodging properties subject to a security interest as
                                                                      28                    provided in section 552(b) of this title, whether existing before or


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                                                                       1                    after the commencement of a case under this title

                                                                       2   11 U.S.C. § 363(a). “As a general rule, postpetition revenue is not cash collateral,” and “a

                                                                       3   creditor’s prepetition security interest does not extend to property acquired by the debtor

                                                                       4   postpetition even if there is an ‘after acquired’ clause in the security agreement.” Far East Nat’l

                                                                       5   Bank v. United States Trustee (In re Premier Golf Properties, LP), 477 B.R. 767, 771 (B.A.P. 9th

                                                                       6   Cir. 2012) (citing section 552(a)).

                                                                       7            Section 552(b) of the Bankruptcy Code, referred to in section 363(a), however, provides an

                                                                       8   exception to the extent “the security agreement expressly provides for an interest in such [after

                                                                       9   acquired] property and the interest has been perfected under applicable nonbankruptcy law” (Id. at

                                                                      10   772):
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                                                                      11                    Except as provided in sections 363, 506(c), 522, 544, 545, 547, and
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                                                                                            548 of this title, if the debtor and an entity entered into a security
                                                                      12                    agreement before the commencement of the case and if the security
                                                                                            interest created by such security agreement extends to property of
                                                                      13                    the debtor acquired before the commencement of the case and to
                                                                                            proceeds, products, offspring, or profits of such property, then such
                                                                      14                    security interest extends to such proceeds, products, offspring, or
                                                                                            profits acquired by the estate after the commencement of the case to
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                                                                      15                    the extent provided by such security agreement and by applicable
                                                                                            nonbankruptcy law, except to any extent that the court, after notice
                                                                      16                    and a hearing and based on the equities of the case, orders
                                                                                            otherwise.
                                                                      17
                                                                           11 U.S.C. § 552(b)(1).
                                                                      18
                                                                                    It is universally acknowledged that the debtor’s cash “is the life blood of the business” and
                                                                      19
                                                                           the bankruptcy court must assure that such life’s blood “is available for use even if to a limited
                                                                      20
                                                                           extent.” In re Mickler, 9 B.R. 121, 123 (Bankr. M.D. Fla. 1981). Courts typically authorize a
                                                                      21
                                                                           debtor to use cash collateral to continue its operations so long as the interests asserted by affected
                                                                      22
                                                                           creditors in such cash are adequately protected.
                                                                      23
                                                                                    Absent a deposit account control agreement, a secured party does not hold a perfected
                                                                      24
                                                                           security interest in any of a debtor’s “cash on hand” or cash in deposit accounts not maintained
                                                                      25
                                                                           under the secured party’s control. “[I]mplicit in the concept of ‘cash collateral’ is that a creditor
                                                                      26
                                                                           has an enforceable security interest” in the property at issue, and a security interest in cash
                                                                      27
                                                                           requires possession. Far East Nat’l Bank v. United States Trustee (In re Premier Golf Props.,
                                                                      28


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                                                                       1   LP), 477 B.R. 767, 777 (B.A.P. 9th Cir. 2012) (holding that cash receipts from golf customers

                                                                       2   constituted “money” which does not fall under the definition of a general intangible and, in turn,

                                                                       3   “did not constitute cash collateral because the creditor did not have possession of the case

                                                                       4   receipts”). See also, Cal. Comm. Code § 9312(b)(1) (“A security interest in a deposit account may

                                                                       5   be perfected only by control under Section 9314”), 9104(a) (setting forth conditions for “control of

                                                                       6   a deposit account”). Without possession of cash or an appropriate cash control agreement, such

                                                                       7   funds are not the Secured Parties’ cash collateral and the Debtor is free to use such funds without

                                                                       8   the need to resort to section 363(c) of the Bankruptcy Code.

                                                                       9            As this Motion establishes, the standards for authorizing the Debtor to utilize cash

                                                                      10   collateral are satisfied in this case because JGB enjoys a sufficient equity cushion protecting its
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                                                                      11   interests in any cash collateral (whatever that interest may be) based on the value of the
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                                                                      12   Watermark Property and other collateral securing the JGB Loan. This alone provides more than

                                                                      13   sufficient basis for authorization of the requested use of cash collateral. In addition, the Debtor’s

                                                                      14   ongoing business operations will adequately protect and preserve the value of JGB’s interest in the
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                                                                      15   cash collateral. Finally, JGB will be further adequately protected by periodic adequate protection

                                                                      16   payments as set forth in the First Budget and the grant of replacement liens as proposed in Section

                                                                      17   III.D. above.

                                                                      18   B.       Any Interest in Cash Collateral JGB Holds Will be Adequately Protected by a

                                                                      19            Substantial Equity Cushion
                                                                      20            The Ninth Circuit Court of Appeals holds that an equity cushion alone can provide the
                                                                      21   requisite adequate protection:
                                                                      22                    Although the existence of the equity cushion is a method of
                                                                                            adequate protection is not specifically mentioned in § 361, it is the
                                                                      23                    classic form of protection for a secured debt justifying restraining of
                                                                                            lien enforcement by a bankruptcy court…. In fact, it has been held
                                                                      24                    that the existence of an equity cushion, standing alone, can provide
                                                                                            adequate protection…. A sufficient equity cushion has been found
                                                                      25                    to exist although not a single mortgage payment had been made.
                                                                      26   Pistole v. Mellor (In re Mellor), 734 F.2d 1396, 1400 (9th Cir. 1984) (citation omitted). The Ninth
                                                                      27   Circuit defined the term “equity cushion” as “the value in the property, above the amount owed to
                                                                      28   the creditor with a secured claim, that will shield that interest from loss due to any decrease in the


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                                                                       1   value in the property during the time the automatic stay in effect.” Id. at 1400 n.2. An equity

                                                                       2   cushion of 10% or greater has been found sufficient to provide a lienholder with adequate protection.

                                                                       3   See Id. at 1401 (citing In re McGowan, 6 B.R. 241, 243 (Bankr. E.D. Pa. 1980) (holding that a 10%

                                                                       4   equity cushion constitutes adequate protection); In re Rogers Development Corp., 2 B.R. 679, 685

                                                                       5   (Bankr. E.D. Va. 1980) (holding that an equity cushion of approximately 15 % to 20% was

                                                                       6   sufficient adequate protection to the secured creditor).

                                                                       7            In the instant case, JGB is adequately protected by a substantial equity cushion. As

                                                                       8   discussed above, even accepting (but not conceding) JGB’s figure for purposes of this Motion,

                                                                       9   JGB holds a claim in the amount of approximately $6.2 million. With assets against which JGB

                                                                      10   asserts a first priority lien valued at over $14.5 million, JGB is protected by an equity cushion of
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                                                                      11   no less than 57%. An equity cushion of that level clearly satisfies the requisite adequate
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                                                                      12   protection requirements to permit the Debtor’s use of any of JGB’s cash collateral.

                                                                      13   C.       JGB’s Interest in Cash Collateral Will be Adequately Protected Under Section 361

                                                                      14            As noted above, a debtor’s authority to use cash collateral is typically conditioned on
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                                                                      15   providing “adequate protection” to entities that assert an interest in such cash. See 11 U.S.C.
                                                                      16   § 361. Although the term “adequate protection” is not defined in the Bankruptcy Code, Section
                                                                      17   361 provides the following three non-exclusive examples of what may constitute adequate
                                                                      18   protection:
                                                                      19                    (1) requiring the trustee to make a cash payment or periodic cash
                                                                                            payments to such entity, to the extent that the . . . use . . . under
                                                                      20                    section 363 of this title . . . results in a decrease in the value of such
                                                                                            entity’s interest in such property.
                                                                      21
                                                                                            (2) providing to such entity an additional or replacement lien to the
                                                                      22                    extent that such . . . use . . . results in a decrease in the value of such
                                                                                            entity’s interest in such property; or
                                                                      23
                                                                                            (3) granting such other relief . . . as will result in the realization by
                                                                      24                    such entity of the indubitable equivalent of such entity’s interest in
                                                                                            such property.
                                                                      25
                                                                           11 U.S.C. § 361.
                                                                      26
                                                                                    Neither section 361 nor any other provision of the Bankruptcy Code defines the nature and
                                                                      27
                                                                           extent of “interest in property” of which a secured creditor is entitled to adequate protection under
                                                                      28


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                                                                       1   section 363. However, the statute plainly provides that a qualifying interest demands protection

                                                                       2   only to the extent that the use of the creditor’s collateral will result in a decrease in “the value of

                                                                       3   such entity’s interest in such property.” United Savings Ass’n of Texas v. Timbers of Inwood

                                                                       4   Forest Assocs., Ltd., 484 U.S. 365, 108 S. Ct. 626, 98 L. Ed. 2d 740 (1988).

                                                                       5            Timbers teaches that a secured creditor is entitled to “adequate protection” only against the

                                                                       6   diminution in value of the collateral securing its allowed secured claim. Where the value of the

                                                                       7   secured party’s collateral is not diminishing by a debtor’s use, sale, or lease, it follows that their

                                                                       8   respective interests in cash collateral (if any) is adequately protected.

                                                                       9            As an initial matter, as explained below, the proposed use of cash collateral enhances the

                                                                      10   value of the collateral. Moreover, separate and independent of any question of diminution in
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                                                                      11   value, a secured creditor has no right to preservation of the equity cushion in its collateral. The
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                                                                      12   Supreme Court in Timbers determined that the property interest the Debtor must adequately

                                                                      13   protect is the lien that secures the creditor’s claim. See Timbers, 484 U.S. at 371. Further, the

                                                                      14   value of the lien may not exceed the allowed amount of the secured claim. See 11 U.S.C. §
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                                                                      15   506(a)(1). Accordingly, the property interest of an oversecured creditor that a debtor must

                                                                      16   adequately protect, namely the lien value, is the allowed amount of the secured claim and does not

                                                                      17   include the equity cushion.

                                                                      18            In In re Alyucan Interstate Corp., 12 B.R. 803 (Bankr. D. Utah 1981), the court ruled that

                                                                      19   an equity cushion is not a requirement of adequate protection because a secured creditor is only

                                                                      20   entitled to protection against a decline in the value of its lien. The existence of an equity cushion

                                                                      21   (the value of the property above the lien) is not a necessary component of adequate protection.

                                                                      22   The court reasoned that section 361 speaks not in terms of preserving equity, but in terms of

                                                                      23   compensating for any “decrease in the value of [an] interest in property.” Id. at 803. The

                                                                      24   Supreme Court’s decision in Timbers confirms this interpretation of section 361. The instant case,

                                                                      25   however, is one where there is equity cushion well-above the amount of its lien that provides it

                                                                      26   with adequate protection and the proposed use of cash collateral to operate the Debtor’s business

                                                                      27   increases the equity cushion.

                                                                      28            In any event, aside from any equity cushion, JGB is adequately protected by the Debtor’s


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                                                                       1   ongoing operation and granting of appropriate replacement liens. Accordingly, JGB’s claim will

                                                                       2   remain adequately protected throughout the Budget period. As such pending a final hearing, the

                                                                       3   Debtor requests emergency authority to use cash collateral according to the Budget during the

                                                                       4   interim Budget period.

                                                                       5            The Debtor proposes providing JGB with adequate protection by granting it a replacement

                                                                       6   lien on cash and loan receivables from existing loans acquired post-petition, to the extent that: (i)

                                                                       7   JGB’s pre-petition security interests are valid, enforceable, properly perfected, and unavoidable,

                                                                       8   and (ii) the Debtor’s use of cash collateral results in diminution in the value of JGB’s cash

                                                                       9   collateral. In addition, the Debtor proposes making periodic payments to JGB pursuant to the First

                                                                      10   Budget, providing it with yet another form and level of adequate protection.
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                                                                      11   D.       JGB’s Interest in Cash Collateral Will be Adequately Protected Under Section 361
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                                                                      12            Because The Debtor’s Use of Cash Collateral Will Preserve The Going Concern
                                                                      13            Value of The Collateral
                                                                      14            It must be emphasized that the value of the Debtor’s assets is primarily the value of its loan
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                                                                      15   receivables and the Debtor’s ability to service and collect on defaulted loans. The Debtor’s ability
                                                                      16   to maximize the value of these assets is inextricably tied to maintaining the going concern value of
                                                                      17   the Debtor’s business. If the Debtor does not have access to cash, it may be forced to shut down
                                                                      18   operations to the detriment of unsecured creditors and equity holders of the Debtor and JGB.
                                                                      19   Accordingly, the use of cash collateral to conduct the Debtor’s business will preserve and protect
                                                                      20   the value of JGB’s collateral generally, and enhance and maximize the potential recovery for all
                                                                      21   creditors.
                                                                      22            It is well established that a bankruptcy court, where possible, should resolve issues
                                                                      23   presented in favor of reorganization rather than to force a liquidation because the business cannot
                                                                      24   use cash or other property to operate. See, e.g., In re Dynaco Corp., 162 B.R. 389 (Bankr. D. N.H.
                                                                      25   1993); In re Hoffman, 51 B.R. 42 (Bankr. W.D. Ark. 1985); In re A&B Hearing & Air
                                                                      26   Conditioning, Inc., 48 B.R. 401 (Bankr. M.D. Fla. 1985); In re Heatron, Inc., 6 B.R. 493 (Bankr.
                                                                      27   W.D. Mo. 1980). As the Heatron court stated in granting a debtor’s motion to use cash collateral:
                                                                      28                    The policy of the Code, as was that of the predecessor statutes, is to


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                                                                       1                     encourage reorganization if there is a reasonable possibility of
                                                                                             success. At the beginning of the reorganization process, the court
                                                                       2                     must work with less evidence than might be desirable and should
                                                                                             resolve issues in favor of the reorganization, where the evidence is
                                                                       3                     conflicting.

                                                                       4   Id. at 496.

                                                                       5            In In re O’Connor, 808 F.2d 1393 (10th Cir. 1987), the court eloquently summarized the

                                                                       6   foregoing principle as follows:

                                                                       7                     Because the ultimate benefit to be achieved by a successful
                                                                                             reorganization inures to all the creditors of the estate, a fair
                                                                       8                     opportunity must be given to the Debtor to achieve that end. Thus,
                                                                                             while interests of the secured creditor . . . are of concern to the court,
                                                                       9                     the interests of all other creditors also have bearing upon the
                                                                                             question of whether use of cash collateral shall be permitted during
                                                                      10                     the early stages of administration.
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                                                                      11                     The first effort of the court must be to insure the value of the
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                                                                                             collateral will be preserved. Yet prior to confirmation for a plan of
                                                                      12                     reorganization, the test of that protection is not by the same
                                                                                             measurements applied to treatment of a secured creditor in a
                                                                      13                     proposed plan. In order to encourage the Debtor’s efforts in the
                                                                                             formative period prior to the proposal of a reorganization, the court
                                                                      14                     must be flexible in applying the adequate protection standard.
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                                                                      15
                                                                           Id. at 1397-98.
                                                                      16
                                                                                    This important sentiment is echoed in other cases. In In re Prime, Inc., 15 B.R. 216, 218
                                                                      17
                                                                           (Bankr. W.D. Mo. 1981), the court succinctly stated that “it is not the purpose of a Chapter 11
                                                                      18
                                                                           proceeding to close a business at the beginning.” Similarly, in In re Shockley Forest Industries,
                                                                      19
                                                                           Inc., 5 B.R. 160, 162 (Bankr. N.D. Ga. 1980), the bankruptcy court explained as follows:
                                                                      20
                                                                                             Chapter 11 is designed for the purpose of preventing dissolution of
                                                                      21                     an otherwise viable corporation. A court should not precipitously
                                                                                             sound the death knell for a debtor by prematurely determining that
                                                                      22                     the debtor’s prospects for economic revival are poor. At this time
                                                                                             the Court has no basis on which to conclude the debtor cannot be
                                                                      23                     rehabilitated.

                                                                      24            Applying the foregoing, courts have frequently allowed a debtor to use cash collateral in

                                                                      25   circumstances where such use would enhance or preserve the debtor’s reorganization value. Thus,

                                                                      26   for example, in In re Stein, 19 B.R. 458 (Bankr. E.D. Pa. 1982), the court allowed a debtor to use

                                                                      27   cash collateral where the bank was undersecured and had no cushion for protection. The court in

                                                                      28   Stein found that the use of cash collateral was necessary to the continued operations of the debtor


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                                                                       1   and “the creditor’s secured position can only be enhanced by the continued operation of the

                                                                       2   [debtor’s business].” Id. at 460. See also, In re Pine Lake Village Apartment Co., 16 B.R. 750

                                                                       3   (Bankr. S.D.N.Y. 1981) (marginally secured creditor adequately protected by lien in post-petition

                                                                       4   property acquired by debtor; debtor can use cash collateral “in the normal course of their

                                                                       5   business”).

                                                                       6            The conclusion that preservation of value is sufficient, without more, to provide adequate

                                                                       7   protection follows from the principle that a secured creditor is only entitled to adequate protection

                                                                       8   of the secured creditor’s interest in its collateral to the extent that such collateral secured the

                                                                       9   creditor’s allowed claim. See Timbers, 484 U.S. at 368-71.

                                                                      10            Here, JGB is oversecured and protected by a sufficient equity cushion. Further, even
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                                                                      11   without such an equity cushion, adequate protection of JGB’s interest is present in this case since
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                                                                      12   the proposed use of cash collateral will preserve and protect the value of the Debtor’s business and

                                                                      13   JGB’s collateral.

                                                                      14   E.       Emergency Authority to Use Cash Collateral is Warranted Under Section 363(c)(3)
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                                                                      15            And Rule 4001(b) to Allow The Debtor to Operate Its Business
                                                                      16            Section 363(c)(3) of the Bankruptcy Code and Rule 4001(b)(2) of the Federal Rules of
                                                                      17   Bankruptcy Procedure require the Court to schedule a cash collateral hearing in accordance with
                                                                      18   the needs of the debtor and conduct a preliminary hearing for the purpose of authorizing the use of
                                                                      19   cash collateral to the extent necessary to avoid irreparable harm to the Debtor. See 11 U.S.C. §
                                                                      20   363(c)(3) (mandating that “[a]ny hearing [on the use of cash collateral] . . . shall be scheduled in
                                                                      21   accordance with the needs of the debtor”). The Ninth Circuit has recognized that emergency relief
                                                                      22   is often crucial to the success of a corporate reorganization:
                                                                      23                    We realize that “in certain circumstances, the entire reorganization
                                                                                            effort may be thwarted if emergency relief is withheld” and that
                                                                      24                    reorganization under the Bankruptcy Code “is a perilous process,
                                                                                            seldom more so than at the outset of the proceedings when the
                                                                      25                    debtor is often without sufficient cash flow to fund essential
                                                                                            business operations”. It is for this very reason that Congress
                                                                      26                    specified that hearings concerning the use of cash collateral “shall be
                                                                                            scheduled in accordance with the needs of the debtor.” 11 U.S.C. §
                                                                      27                    363(c)(3).
                                                                      28   In re Center Wholesale, Inc., 759 F.2d 1440, 1449 n. 21 (9th Cir. 1985) (citations omitted).


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                                                                       1            In the present case, emergency use of cash collateral by the Debtor, pending a final

                                                                       2   hearing, is necessary to prevent immediate and irreparable harm to the Debtor and its creditors.

                                                                       3   Absent such use, the Debtor will have little or no funds from which to conduct operations, and

                                                                       4   may be forced to permanently discontinue its business to the detriment of all creditors.

                                                                       5            On the other hand, JGB will not suffer harm if interim relief is granted. To the extent that

                                                                       6   JGB has an interest in property of the Estate which is worthy of adequate protection, that interest

                                                                       7   is adequately protected by the substantial equity cushion, preservation of the value of their

                                                                       8   collateral through the Debtor’s continued business operations, and by the proposed replacement

                                                                       9   liens.

                                                                      10            As such, the Debtor requests that the Court grant the Debtor the relief requested on an
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                                                                      11   emergency and interim basis, followed by final approval of the Motion at a final hearing to be set
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                                                                      12   by the Court.

                                                                      13                                                      V.

                                                                      14    THE DEPOSITORY WITH WHICH THE DEBTOR BANKS AND FIRST ASSOCIATES
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                                                                      15                        SHOULD BE REQUIRED TO HONOR THIS ORDER
                                                                      16            The Debtor has depository accounts with Preferred Bank (the “Depository”).11 In order to
                                                                      17   give effect to this Court’s order authorizing the Debtor’s use of cash collateral, the Debtor requests
                                                                      18   that the Court also direct the Depository and First Associates to comply with the order, and abide
                                                                      19   by requests for use of funds by the Debtor, notwithstanding any contrary direction from JGB or
                                                                      20   any other third party. See 11 U.S.C. § 105(a) (authorizing court to “issue any order, process, or
                                                                      21   judgment that is necessary or appropriate to carry out the provisions of this title”).
                                                                      22                                                      VI.
                                                                      23                                                  NOTICE
                                                                      24            The Debtor intends to provide notice of this Motion by overnight mail, e-mail, facsimile,
                                                                      25

                                                                      26   11
                                                                             Concurrently herewith, the Debtor filed an emergency first day motion to maintain certain active bank
                                                                      27   accounts and its cash management system for a limited period of time to ensure a smooth transition into
                                                                           this chapter 11 case.
                                                                      28


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                                                                       1   or hand delivery on: (i) JGB; (ii) the 20 largest general unsecured creditors; (iii) First Associates;

                                                                       2   (iv) the Depository; (v) the Office of the United States Trustee; (vi) any other party that requested

                                                                       3   special notice; and (vi) any other party this Court orders be provided with notice of this Motion.

                                                                       4                                                    VII.

                                                                       5                                              CONCLUSION

                                                                       6            Based on the foregoing, this Court should grant the Motion.

                                                                       7   Dated: December 18, 2018                    SulmeyerKupetz
                                                                                                                       A Professional Corporation
                                                                       8

                                                                       9
                                                                                                                       By: /s/ Asa S. Hami                    _____________
                                                                      10                                                   Asa S. Hami
                                                                                                                           Attorneys for Debtor and Debtor in Possession
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                                                                      11                                                   One Way Loans, LLC, d/b/a PowerLend
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